Case 1:07-cv-01238-LG-RHW Document 181-5 Filed 10/07/09

Page 1 of 2
Fonm & (NOVSD Mies. Dec. 2000)
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI
MARGUERITE CARRUBBA
Plaintiff
v. CIVIL ACTION 1:0 7¢v12051.G-IMR
NO.
HARRISON COUNTY, MississiPPl, ET AL.
PRefendants
Goon Parra CERTIBICATE

All counsel certify that they have conferred in good faith to resalve the iasues in question and that it is
necessary tt file the following motion:

Motion te Compel

Counsel further vertify that:
as appropriate:

1. The motion is unopposed by all parties.

2, The motion is unopposed by:

“ 3. The motion is opposed by; Plaintiif

- —

4, The parties agree that replics and rebuttals to the motion shall be submined to the magistrate
judge in accordance with the time limitations avated in Uniform Local Rule 7.2

EXHIBIT

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Case 1:07-cv-01238-LG-RHW Document181-5 Filed 10/07/09 Page 2 of 2

FORM B (NO/SD Nyes, Dae. 2600)

OF,
Thisthe day of . 20

gqnature of Plaintiff's Antorney

Patriok Buchanan MSB #8439
Typed Name and Bar Number
